Case 17-60022   Doc 23    Filed 02/23/17 Entered 02/24/17 01:24:08   Desc Imaged
                         Certificate of Notice Page 1 of 2
          Case 17-60022            Doc 23       Filed 02/23/17 Entered 02/24/17 01:24:08                         Desc Imaged
                                               Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                               Western District of Virginia
In re:                                                                                                     Case No. 17-60022-rbc
Norma J. Sipe                                                                                              Chapter 7
Charles C. Sipe
         Debtors
                                                 CERTIFICATE OF NOTICE
District/off: 0423-6                  User: roseg                        Page 1 of 1                          Date Rcvd: Feb 21, 2017
                                      Form ID: pdf003                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 23, 2017.
db/jdb         +Norma J. Sipe,   Charles C. Sipe,   1265 Pounding Creek Rd.,   Charlottesville, VA 22903-7520

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 23, 2017                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 21, 2017 at the address(es) listed below:
              USTrustee   USTPRegion04.RN.ECF@usdoj.gov
              W Stephen Scott(80)   wsscott7trustee@earthlink.net, VA01@ecfcbis.com
                                                                                            TOTAL: 2
